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 1    Anoush Hakimi (SBN 228858)
 2    anoush@handslawgroup.com
      Peter Shahriari (SBN 237074)
 3
      peter@handslawgroup.com
 4    Laura Steven (SBN 332168)
      laura@handslawgroup.com
 5
      Kyle Wilson (SBN 323888)
 6    kyle@handslawgroup.com
 7
      THE LAW OFFICE OF HAKIMI & SHAHRIARI
      1800 Vine Street
 8    Los Angeles, CA 90028
 9    Telephone: (888) 635-2250
      Facsimile: (213) 402-2170
10

11    Attorneys for Plaintiff,
      JAMES SHAYLER
12

13

14                           UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
16

17    JAMES SHAYLER, an individual,         Case No. 2:20-cv-10751-GW-GJS
18             Plaintiff,                   Hon. George H. Wu
19
          v.
20
      1310 PCH LLC, a California limited    PLAINTIFF’S NOTICE OF
21
      liability company; and DOES 1-10,     MOTION AND MOTION FOR
22                                          ATTORNEYS’ FEES AND COSTS
               Defendants.
23                                          Date:      September 30, 2021
24                                          Time:     8:30 a.m.
                                            Courtroom: 9D
25

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         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR ATTORNEYS’
                              FEES AND COSTS
     Case 2:20-cv-10751-GW-GJS Document 33 Filed 08/30/21 Page 2 of 2 Page ID #:411



 1          TO 1310 PCH LLC, AND THEIR ATTORNEYS OF RECORD:
 2
            PLEASE TAKE NOTICE that on September 30, 2021, at 8:30 a.m., or as
 3

 4    soon thereafter as this matter may be heard by this Court, located at 350 West 1st
 5
      Street, Los Angeles, CA, 90012, Courtroom 9D, 9th Floor, Plaintiff James
 6

 7
      Shayler (“Plaintiff”) will move this Court for an award of his reasonable

 8    attorneys’ fees in the amount of $31,714, and litigation costs/expenses in the
 9
      amount of $3,185, for a total award of $34,899, pursuant to 42 U.S.C. § 12205.
10

11    This motion is made on the grounds that Plaintiff is the prevailing party, because
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      on August 16, 2021, Plaintiff obtained a judgment in his favor, and against
13

14
      Defendant 1310 PCH LLC; and that the requested fees and costs are reasonable.

15          This motion is based on this Notice of Motion and Motion, the
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      Memorandum of Points and Authorities filed concurrently herewith, the
17

18    Declaration of Anoush Hakimi filed concurrently herewith, the pleadings and
19
      papers filed in this case, and upon such other matters as may be presented to the
20

21
      Court at the time of the hearing.

22    Dated: August 30, 2021         THE LAW OFFICE OF HAKIMI & SHAHRIARI
23
                                     By: /s/Anoush Hakimi
24
                                         Anoush Hakimi, Esq.
25                                       Attorneys for Plaintiff James Shayler
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         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR ATTORNEYS’
                              FEES AND COSTS
